
THE plaintiff shewed in his declaration, that there was a conversation between him and the defendant, about the purchase of a certain quantity of herb for dying, called woad, viz. five loads, at the rate of 6d. for every 14 pounds thereof, and that the defendant in consideration of 6d. in hand, promised to sell and deliver him the said five loads, at the rate aforesaid. On nihil dicit the plaintiff had judgment. Jermyn moved in arrest of judgment, 1. That the declaration is for quinque carucar. (anglice cart. loads) and caruca does not signify a load, but a quantity of land, 2. It is not shewn to what quantity the loads amount to. He ought to have said that the five loads weighing so many pounds, which at 6d. for every 14 pounds, amount to so much. Adjournatur.
C. J. Perhaps the plaintiff could not shew this, as they were not delivered.

Jermyn.

M. 19 Jac. Trover and conversion was de tribus ponderibus,, and the plaintiff could not have judgment; for this does not signify a certain weight. I was of counsel in the case.
